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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
               Plaintiff,
                                                         CASE NO: 4:18CR3034
      vs.

ANWAR A. HUNT,                                            DETENTION ORDER
                     Defendant.



       On the government's motion, the court afforded the defendant an opportunity for
a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f).             The court
concludes the defendant must be detained pending trial.

       There is a rebuttable presumption that no condition or combination of conditions
of release will reasonably assure the defendant’s appearance at court proceedings and
the safety of the community because there is probable cause to believe the defendant
committed a felony involving possession or use of a firearm or destructive device or any
other dangerous weapon. The defendant has not rebutted this presumption.

       Based on the information of record, the court finds by a preponderance of the
evidence that the defendant's release would pose a risk of nonappearance at court
proceedings, and by clear and convincing evidence that the defendant's release would
pose a risk of harm to the public.

       Specifically, the court finds that the defendant has a criminal history of violating
the law and court orders; violated conditions of release previously imposed by a court;
has a history of harming or threatening harm to others; is addicted to or abuses mood-
altering chemicals and is likely to continue such conduct and violate the law if released;
lacks a stable residence; has limited employment contacts; has failed to appear for
court proceedings in the past; presented no evidence opposing the presumption of
detention; and conditions which restrict Defendant’s travel, personal contacts, and
possession of drugs, alcohol, and/or firearms; require reporting, education, employment,
or treatment; or monitor Defendant’s movements or conduct; or any combination of
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these conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)),
will not sufficiently ameliorate the risks posed if the defendant is released.

                               Directions Regarding Detention

       The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult
privately with defense counsel. On order of the United States Court or on request of an
attorney for the Government, the person in charge of the corrections facility must deliver
the defendant to the United States marshal for a court appearance.

       Dated April 20, 2018.

                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
